            Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 1 of 8



                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO
                                 EASTERN DIVISION


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__________________________________________
AMANDA J. MECHAM,                          )
                                          )
      Plaintiff,                          )
                                          )
 v.                                       )
                                          )
MEDICAL RECOVERY SERVICES, LLC            )
                                          )
      Defendant.                           )
__________________________________________)

                                        COMPLAINT

       Now comes the Plaintiff, AMANDA J. MECHAM, by and through her attorneys, and for

her Complaint against the Defendant, MEDICAL RECOVERY SERVICES, LLC, Plaintiff alleges

and states as follows:

                               PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq.
            Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 2 of 8



                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367, and 15

U.S.C. § 1692k(d). This jurisdiction includes supplemental jurisdiction with respect to pendent

state law claims.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.

                                             PARTIES

       4.      Plaintiff is an individual who was at all relevant times residing in Idaho Falls, Idaho.

       5.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.

       6.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt allegedly

owed by Plaintiff.

       7.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of a consumer to pay money arising out of a transaction

in which the money, property, insurance and/or services which are the subject of the transaction

were primarily for personal, family and/or household purposes.

       8.      On information and belief, Defendant is a limited liability company of the State of

Idaho, which has its principal place of business in Idaho Falls, Idaho.

                             FACTS COMMON TO ALL COUNTS

       9.      On November 17, 2014, Plaintiff filed a Chapter 7 bankruptcy petition in the United

States Bankruptcy Court, District of Idaho, Case No. 14-41294-JDP.




                                                  2
              Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 3 of 8



        10.      On February 25, 2015, an Order of Discharge was entered in Plaintiff’s bankruptcy

case.

        11.      Defendant caused a collection notice, dated February 27, 2015, to be mailed to

Plaintiff’s home address, in an attempt to collect the alleged aforementioned debt which was

included in Plaintiff’s bankruptcy petition.

        12.      Court records confirm that all of the entities listed on Defendant’s collection notice

were provided notice of Plaintiff’s bankruptcy by the Bankruptcy Noticing Center.

        13.      In its attempts to collect the alleged debt as outlined above, Defendant damaged

Plaintiff and violated the FDCPA.

        14.      As a result of Defendant’s actions as outlined above, Plaintiff has suffered and

continues to suffer stress, aggravation, emotional distress and mental anguish.

                                               COUNT I

        15.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.

        16.      Defendant violated 15 U.S.C. § 1692d by engaging in conduct the natural

consequence of which was to harass, oppress and/or abuse Plaintiff in connection with the

collection of the alleged debt.

        WHEREFORE, Plaintiff prays for the following relief:

                 a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                        direct and proximate result of Defendant’s violations of the FDCPA,

                        pursuant to 15 U.S.C. § 1692k(a)(1);




                                                   3
             Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 4 of 8



                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT II

       17.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.

       18.      Defendant violated 15 U.S.C. § 1692e by using a false, deceptive and/or misleading

representation or means in connection with the collection of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT III

       19.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.
                                                 4
             Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 5 of 8



       20.      Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

amount and/or legal status of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT IV

       21.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.

       22.      Defendant violated 15 U.S.C. § 1692e(10) by using a false, deceptive or misleading

representation or means in connection with the collection of the alleged debt and/or to obtain

information about Plaintiff.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);




                                                  5
             Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 6 of 8



                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.

                                           COUNT V

       23.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.

       24.      Defendant violated 15 U.S.C. § 1692f by using an unfair or unconscionable means

to attempt to collect the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.




                                                 6
             Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 7 of 8



                                           COUNT VI

       25.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 as if reiterated herein.

       26.      Defendant violated 15 U.S.C. § 1692f(1) by collecting an amount where such

amount was not expressly authorized by the agreement creating the debt and/or where such amount

was not permitted by law.

       WHEREFORE, Plaintiff prays for the following relief:

                a.     Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. § 1692k(a)(1);

                b.     Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C. §

                       1692k(a)(2)(A);

                c.     Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. § 1692k(a)(3); and

                d.     Any other legal and/or equitable relief as the Court deems appropriate.



                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff prevail on any

of her FDCPA claims in this action.




                                                 7
         Case 4:15-cv-00281-EJL Document 1 Filed 07/22/15 Page 8 of 8



                                          RESPECTFULLY SUBMITTED,

                                          AMANDA J. MECHAM


                                          By:   /s/ Ryan Farnsworth_
                                                Attorney for Plaintiff

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